Case 3:08-cv-02771-WHA Document 298 Filed 02/05/10 Page 1 of 10

MlCHAEL J NEY
THON|AS G BEATTY
ROBERT M SLATTERY
GUV D BORGES
ROGER J BROTHERS
JAMES V F|TZGERALD, |||
MART|N J AMBACHER
ROBERTW HODGES
J WESLEY SMITH
PAUL B. WALSH

ANN H LARSON

R. DEWEV WHEELER
SETH J SCHWARTZ
PETERJ H|RS|G

JEN|FER K LEECE
CATHLEEN A |RW!N
JENN|FER A PH|LLIPS
SUZANNE FOLEY SPRAGUE
SHARON A. GARSKE
PETER V\/v SEKEL|CK
TONVA R DRAEGER
MATTHEW F'. SULL|VAN
CARR|E E. CROXALL
SHAWN F HARD|NG
PETRA BRUGG|SSER
NOLAN S ARMSTRONG
MARK P. |EZZA
CHR|STOPHER T LUST|G

W|LMA J GRAV
ROBERT W LAMSON
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L\SA R ROBERTS
DEN|SE B|LLUPS»SLONE
J. LUClAN DODSON |||
JAN\ES E. ALLEN
DEN|SE J SERRA
HOWARD PATR|CK SWEENEY
PATR|CK L MOORE
R|CHARD M. MCNEELY
GARV A, WATT

NOAH G BLECHMAN
M|CHAEL P CLARK

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CONNOR M DAV
ANDREA N de KON|NG
NATHAN|EL A. SMITH
RAYELLE D SABO
ARA S, AL|K|AN

JOHN C ADAMS
ERICKA L. ACKERET
KATE L PETERSEN
JA|ME E L|CHT

BLA\R K WALSH
ASHA B. W|LKERSON
DOM|N|C V S|GNOROTT|

M|LJOY B L|NSAO L MAPLE LAV
LUANNE RUTHERFORD
Tlie Court Clerk

USDC - Northern Distiict of Califomia

Courtroom 9, 19th Floor
450 Golden Gate Averiue
San Francisco , CA 94102

Re:

A`ITORNEYS AT LAW

1211 NEWELL AVENUE

WALNUT (`Rlil:`K, C`A 945()()-5331

Pl.l~`.ASE RESPOND TO:
P.O. BOX 5288
WAl.NUT C`REEK, (`A 945‘)()

TELEPHON[I: (925) 939-5330
FA(`SlMlLlZ: (¢)25)‘)39-0203

www.mcnamaralaw.com

February 5, 2010

J ames Talada, III. v. City of Martinez
Case No. C08-02771 WHA

Defendant Gary Peterson’s Bill of Costs

Dear Sir or Madam:

MCNAMARA, NEY, BEATTY, SLATTERY, BoRGEs & BRoTHERs LLP

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TRACY, CA 95377
v1`[".1.EPHONE: (877) 839-5330
l~`A(`SIl\/[[LE: (20()) 839-6758

PARTNERS EMER|TUS
DANlELJ MCNAMARA
DOUGLAS C. MCCLURE
THOMAS E F’FALZER
R|CHARD E. DODGE
(1941 - 2000)

OF COUNSEL
WlLL|AM K HOUSTON, JR

James V. Fitzgerald, llI
jamesfttzgerald@mcnamaralaw.com

We respectfully submit this letter to you to inquire about the status of Defendant Gary
Peterson’s Bill of Costs in this matter. Defendant Peterson filed his Bill of Costs on September
16, 2009, after the Honorable Judge William H. Alsup granted Defendant Peterson’s summary
judgment motion against the Plaintiffs on September 4, 2009. A copy of the Bill of Costs and
the supporting declaration of James V. Fitzgerald, III, is attached for your ease of reference.

(See Documerit Nos. 238 and 239, filed on September l6, 2009).

Plaintiffs did not object to the Bill of Costs.

We have tried to contact your office several times to inquire about the status of the
Court’s decision to tax the costs claimed by Defendant Peterson, but We Were unable to obtain
any answer or status. We would greatly appreciate your assistance in finalizng this process.

Case 3:08-cv-O2771-WHA Document 298 Filed 02/05/10 Page 2 of 10

February 5, 2010
Page 2

Re: James Talada, IH. v. City of Martiriez - Case No. C08-0277l WHA

 

Thank you for your consideration and assistance

Very truly

 
   

James V. itzgerald, III
JVF:pb

cc: all counsel

Case 3:08-cv-O2771-WHA Document 298 Filed 02/05/10 PageSof 101
CaseS:OB-cv-C ’1-VVHA Document238 FiledOQ/l 9 Pagelon

AO 133 (Rev ll/()B) Bil| ol(`osts

UNITED STATES DisTRiCT COURT

for the
Northem District of California

 

James Ta|ada, l|l, Me|ody LaBel|a §
` V_ ) gm NO`; Coa-oz771 wHA
City of Martinez, et. al. §
Bill of Costs
Judgment having been entered in the above entitled 09/04/2009 against maintle Talada & LaBe"a
Dnle
the Clerk is requested to tax the following as costs:
Fees ofthe Clerk .................................................................. 3 68-00
Fees for service of summons and subpoena ..............................................
4,938.45

Fees for printed or electronically recorded transcripts necessanly obtained for use in the case .......

Fees and disbursements for printing ....................................................
Fees for witnesses (iremize an page rwo) ................................................... 0'00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case .................................................. 1'329'17

Docket fees under 28 U.S.C. 1923 ............... ‘ ......................................
Costs as shown on Mandate of Court of Appea|s ..........................................
Compensation of court-appointed experts ...............................................
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....

thCl’ COSIS (please ilemi:e) .............................................................

TOTAL $ 6,335.62

 

SPECIAL NOTE; Attach to your bill an itemization and documentation for requested costs in all categories
Declaration

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties

in the following manner:

m Electronic service by e-mail as set forth below and/or.

l___l Conventional Ws%asw@posta e prepaid as set forth below.
. /`
s/ Attomey: / ' @ ”f_,
ni/

/

Name of James V. Fitzgera , ll

pon Defendant Gary Peterson Date: 09/16/2009

Nnme of Clniming Pnrry

Costs are taxed in the amount of and included in the judgment

 

By:

 

 

Clerlr ofCourl' Depuiy Clerk Dale

 

Case 3:08-cv-O2771-WHA Document 298 Filed 02/05/10 Page4of 10
Case3:08-cv-t` 71-V\/HA Document238 FiledOQ/t 9 PaQeZ of2

AO 133 (Rev |\/08) Billof(`osts

UNITED STATES DISTRICT COURT

 

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

 

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NOTlCE

Section 1924, Title 28, U.S. Code (effectivc September l, 1948) provides:

"Sec. l924. Ven'frcation of bill of costs."
"Before any bill ofcosts is taxed, the party claiming any item ofcost or disbursement shall attach thereto an affidavit, made by himselfor by

his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily perfonned."

Sce also Section 1920 of Title 28, which reads in part as follows:
"A bill of costs shall be filed in the case and, upon allowancc, included in thejudgment or decree."

The Federal Rules of Civil Procedure contain the following provisions:
RULE s4(d)(i)

Costs Other than Attomeys’ Fees.
Unless a federal statutc, these rules, or a court order provides otherwise, costs _ other than attomey's fees _ should be allowed to the

prevailing pany. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
may tax costs on l day's notice. On motion served within the next 5 days, the court may review the clerk's action

RULE 6
(d) Additional Time Aftc:r Certain Kinds of Service.

When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
added after the period would otherwise expire under Rule 6(a).

RULE 58(e)
Cost or Fee Awards:

Ordinarily, the entry ofjudgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fces. But ifa
timely motion for altomey's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.

 

 

McNAMARA, DODGE. NEY, BEATTY, SLATTERY, PFALZER, EORGES & BROTHERS LLF

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Case 3:08-cv-O2771-WHA Document 298 Filed 02/05/10 Page 5 of 10

CaseS;OS-cv-OZ ,~VVHA Document239 FitedOQ/l@. Paget of31

JAMES V_ FlTZGERALD, 111 (State Bar No. 55632)
NOAH G. BLECHMAN (State Bar No. 197167)
MCNAMARA, Dooois, NEY, Bi-:Ai'rv, Sr.ArrF.RY,
PFALZER, BoRGEs & BRoTHERs LLP

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Walnut Creek, CA 94596

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Facsimile: (925) 939-0203

Attomeys for Deferidarit
CITY OF MARTINEZ, MARTINEZ POLICE DEPARTMENT,
DAVE CUTAIA, GARY PETERSON, MARK SMITH

UNrrED srArEs DisrRiCr CoURT
NoRrHERN Drsrchr or cALiFoRNiA

JAMES TALADA, 111, and MELODY Case No. C08-0277l WHA

LABELLA
DECLARATION OF JAMES V.

PlaintiffS, FITZGERALD, IlI IN SUPPORT OF
DEFENDANT GARY PETERSON’S
BILL OF COSTS PER FRCP 54, CIVIL

vs_
L.R. 54 AND 28 U.S.C. 51920

CITY OF MARTINEZ; MARTINEZ

POLICE DEPARTMENT; CHIEF DAVE Date: September 3, 2009
CUTAIA; SERGEANT GARY Time: 8200 a.m.

PETERSON; COMMANDER MARK Dept.: Courtroom 9, 19th Floor
SMITH; et. al. 450 Golden Gate Ave.

San Francisco, CA

Defendants.
Honorable William H. Alsup

 

Trial Date: October 26, 2009

 

 

1, James V. Fitzgerald, III, hereby declare:

l. I am an attorney at law duly licensed to practice before the courts of the State of
Califomia and am a partner at the law firm of McNamara, Dodge, Ney, Beatty,

Slattery, Pfalzer, Borges & Brothers LLP, attorneys of record for Defendant Gary

Petersori. 1 have personal knowledge of each matter stated herein.

2. The following costs Were actually and necessarily incurred by Defendant Peterson
in defending this civil rights action, are correctly stated and are allowable by law.

Supporting documentation is attached_hereto for each item claimed, including an

Case No. C08-02771 WHA - FITZGERALD
DECLARATION I`N SUPPORT OF PETERSON’S
BILL OF COSTS

 

MCNAMARA, DODGE. NEY. BEATTY. SLATTERY, PFALZER, BORGES & BROTHERS LLP

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itemized statement of all costs sought pursuant to this bill of costs as Exhibit A,
along with supporting documentation of said costs per the attached further
exhibits

3. Defendant Peterson has incurred costs in defending this civil rights action and is
seeking a total of $6,335.62 for this bill of costs.

4. Attached hereto as “Exhibit A" is an itemized table of each cost claimed by
Defendant Peterson.

5. Attached hereto as “Exhibit B” are true and correct copies of my firm’s redacted
billing statements which include the filing fees at the Superior Court of Contra
Costa County related to Defendants’ removal of the action to Federal Court, per
Civil LR 54-3 (a)(l), 28 U.S.C. §1920(1)_ The total filing fees are $_68_.0_0.

6. Attached hereto as “Exhibit C" are true and correct copies of invoices for court

reporter transcript and deposition fees in the total amount of $4 938.45, per Civil

 

LR 54-3 (b) and (c)(l), 28 U.S.C. §1920 (2).

7. Attached hereto as “Exhibit D” are true and correct copies of my firm’s redacted
billing statements which include the copy charges used for reproducing disclosure
or formal discovery documents in this case per Civil LR 54-3(d)(2), 28 U.S.C.
§1920 (3)(4). Defendants expended costs for discovery between May 11, 2009
and June 12, 2009 (discovery cut-off date), Expert disclosure were exchanged on
June 19, 2009. The total costs for reproduction and exemplificatiori for disclosures
and discovery claimed by Defendant Peterson are §1,329.17.

8. These costs should be awarded to Defendant Peterson in their entirety Defendant
Peterson is exempt from the stipulation and order to waive cost between Plaintiffs
Talada and LaBella and the City of Martinez related Defendants. Plaintiffs Talada
and LaBella agreed that “if Defendant Gary Peterson shall obtain a judgment, the

Court may consider any appropriate percentage reduction in allowable costs

awarded (if any).”

Case No. C08-0277l WHA - FI'I`ZGERALD 2
DECLARATION l'N SUPPORT OF PETERSON’S
BILL OF COSTS

 

McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP

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Case 3:08-cv-02771-WHA Document 298 Filed02 /0 5/10 Pa 97 110
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Attached hereto as “Exhibit E” is a true and correct copy of the stipulation and
order dismissing some defendants and claims against the City of Martinez related
Defendants.

A reduction of costs is not appropriate Plaintiffs’ action against the City of
Martinez related Defendants was almost exclusively centered around Gary
Peterson and his investigation of the anonymous letter to establish probable cause
and obtain the search and arrest warrants for Talada. Any and all dispositive
motions, pleadings and other submissions, as well as the discovery proceedings,
including depositions and expert disclosures, were focused on Defendant Peterson.
In contrast, the City of Martinez, the Martinez Police Department, Chief Cutaia
and Cmdr. Smith played only minuscule roles in Plaintiffs’ action, if any. ln other
words, Defendants would have had to expend all costs claimed herein even if the
City of Martinez, the Martinez Police Department, Chief Cutaia and Cmdr. Smith
had never been named as defendants Therefore, an award of all costs claimed
herein is appropriate and Defendant Peterson respectfully asks this Court to tax the

costs iri the full amount of $6,335.62.

1 declare under penalty and perjury the foregoing is true and correct.

Executed this /é%day of September, 2009 at Walnut Creek, Califorriia.

027/z §

y.lame’s V. Fitzgerald ,Marant

Case No. C08»02771 WHA - FITZGERALD 3
DECLARATION IN SUPPORT OF PETERSON`S
BILL OF COSTS

 

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Case 3:08-CV-02771-WHA
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TALADA V. CITY OF MARTINEZ

(Case No.C08-02771WHA)

EXHIBIT “A”

aia/10 agrees

ITEMIZED LISTING OF COSTS FOR DEFENDANT PETERSON’S BILL OF COSTS

A. Fees for Filing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date of Cost Description Reference Authority for Cost

Cost to Exhibits Costs Amount

6-4-08 Filing Fee @ Superior Court of Exh. B LR 54-3 (a)(l); 28 $29.50
Contra Costa County U.S.C. §1920 (l)

8-28~08 Filing Fee @ Superior Court of Exh. B LR 54-3 (a)(l); 28 $38.50
Contra Costa County U_S_C_ §1920 (1)
Total Cost for Section $68.00

B. Fees of the Court Reporter for Transcripts and Depositions

Da`te of Cost Descriptfon Reference Attthol"~ity for Cost

Cost to Exhibits Costs Amount

9-10-08 Court Transcript Exh. C LR 54-3 (b); 28 $202.80

U.S.C. §1920 (2)

11-19-08 Deposition of James Talada, Exh. C LR 54-3 (c)(l); 28 $1,487.50
cost for transcript (video) U.S.C. §1920 (2)

11-19-08 Deposition of J ames Talada, Exh. C LR 54-3 (c)(l); 28 $l,638.15
cost for transcript U.S.C. §1920 (2)

1-22-09 Deposition of Melody LaBella, Exh. C LR 54-3 (c)(l); 28 $245.10
cost for transcript U.S.C. §1920 (2)

1-22-09 Deposition of Christina Akeson, Exh. C LR 54-3 (c)(l); 28 3182.7
cost for transcript U.S.C. §1920 (2)

1-22-09 Deposition of David Akeson, Exh. C LR 54-3 (c)(l); 28 $174.10
cost for transcript U_S_C_ §192() (2)

6-18-09 Deposition of Melody LaBella Exh. C LR 54-3 (c)(l); 28 $530.40
Vol. II, cost for transcript U.S.C. §1920 (2)

7-13-09 Deposition of Christina Akeson Exh. C LR 54-3 (c)(l); 28 $477.70
Vol. II, cost for transcript U.S.C. §1920 (2)
Total Cost for Section $4,938.45

 

 

 

 

 

 

 

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C. Fees and Disbursements for Reproduction and Exemplification of Papers and
Exhibits Necessarily Obtained for the Case

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date of Cost Description Reference Authority for Cost
Cost to Costs Amount
Exhibits

5-11-09 20 Photocopies for discovery at Exh. D LR 54-3 (d)(2); 28 $4.00
$.20 per page U.S.C. §1920 (3)(4)

5~12-09 186 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $37.20
at $.20 per page U.S.C. §1920 (3)(4)

5-13-09 156 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $31.20
at $.20 per page U.S.C. §1920 (3)(4)

5'14-09 35 Photocopies for discovery at Exh. D LR 54-3 (d)(2); 28 $7.00
$.20 per page U.S.C. §1920 (3)(4)

5-20-09 236 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $47.20
at $.20 per page U.S.C. §1920 (3)(4)

5-28-09 127 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $25.40
at $.20 per page U.S.C. §1920 (3)(4)

6-1-09 960 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $l92.00
at $.20 per page U.S.C. §1920 (3)(4)

6-4-09 1,047 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $209.40
at $.20 per Pag€ U.S.C. §1920 (3)(4)

6-5-09 65 Photocopies for discovery at Exh. D LR 54-3 (d)(2); 28 $13.00
$.20 per page U.S.C. §1920 (3)(4)

6-8-09 1,762 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $352.40
at $.20 per page U.S.C. §1920 (3)(4)

6-11-09 3 Photocopies for discovery at Exh. D LR 54-3 (d)(2); 28 $0.60
$.20 per page U.S.C. §1920 (3)(4)

6-12-09 181 Photocopies for discovery Exh. D LR 54-3 (d)(2); 28 $36.20
at $.20 per page U.S.C. §1920 (3)(4)

6-19-09 334 Photocopies for expert Exh. D LR 54-3 (d)(2); 28 $66.80
disclosure at $.20 per page U.S.C. §1920 (3)(4)

6-5-09 Copymat Invoice for discovery Exh. D LR 54-3 (d)(2); 28 $367.08

U.S.C. §1920 (3)(4)
6-9-09 Copymat Invoice for discovery Exh. D LR 54-3 (d)(2); 28 $306.77
U.S.C. §1920 (3)(4)

Total $1,696.25
Reimbursment paid by Plaintiffs - $367.08
for 6-5-09 Copymat lnvoice
Total Cost for Section $1,329.] 7

 

 

 

 

 

 

